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                 Exhibit D




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                                                                                   ELECTRONICALLY
                                                                                      FILED
                                                                                  Superior Court of California,
                                                                                   County of San Francisco

                                                                                      10/10/2023
                                                                                   Clerk of the Court
                                                                                     BY: YOLANDA TABO
                                                                                               Deputy Clerk




                     July 5, 2023

Kevin Jackson, Counsel for Menzies Aviation (USA), Inc.




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